         Case 3:15-cr-00155-RNC Document 199 Filed 08/05/16 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

  UNITED STATES OF AMERICA                         :     CRIMINAL NO. 3:15CR155 (RNC)
                                                   :
  v.                                               :
                                                   :
  ROSS SHAPIRO,                                    :
  MICHAEL GRAMINS and                              :
  TYLER PETERS                                     :     August 5, 2016

                 GOVERNMENT’S REPLY TO THE DEFENDANTS’
                  OPPOSITION TO THE MOTION IN LIMINE TO
             PRECLUDE EVIDENCE OR ARGUMENT BLAMING VICTIMS

       The Government respectfully submits this Reply to the defendants’ Opposition to the

Government’s Motion in Limine to Preclude Evidence or Argument Blaming Victims. There is a

balance that the Court must strike between allowing the defendants to present evidence of

materiality and preventing them from arguing that victims were negligent or should have been

more diligent in discovering the defendants’ misrepresentations. The defendants’ Opposition does

not properly address this issue.

                                          ARGUMENT

       In its opening brief, the Government moved this Court for an order preventing the

defendants from blaming the victims by presenting evidence or making argument that the victims

were contributorily negligent in the success of the defendants’ scheme. In their Opposition, the

defendants asserted that they do not seek to blame the victims. Rather, they intend to present a

materiality defense that includes evidence of what “a reasonable investor would have done in

determining what price to agree to pay for any particular bond.” Dkt. 180 at 4. The defendants

also argue that they must be allowed to cross-examine victims as to what steps they “did and did

not take to evaluate the veracity of pricing information provided by the Defendants.” Id. at 5.
         Case 3:15-cr-00155-RNC Document 199 Filed 08/05/16 Page 2 of 4



       The Government does not dispute the defendants’ right to do this. Indeed, this is consistent

with Judge Hall’s order addressing this very issue in United States v. Litvak: “[W]hile Litvak may

put on expert testimony about what reasonable investors do, as well as cross-examine government

witnesses about what they actually did, he may not ask questions or make arguments that suggest

there are things the government witnesses should have done.” United State v. Litvak, No. 3:13-cr-

19 (JCH), Ruling Re: Motions In Limine [Dkt. No. 432] at 23 (emphasis in original). Judge Hall

held that this distinction was necessary to protect Litvak’s right to present his materiality defense

while precluding argument that impermissibly suggest that fraud victims “could have avoided the

harm that purportedly befell them by taking additional actions.” Id. 23-24.           Based on the

defendants’ opposition, it appears they do not intend to blame the victims, and therefore should

have no issue with the Court formally precluding such evidence or argument, in the same manner

as Judge Hall.

       Typically, the defendants’ concession would moot the Government’s motion. However,

the defendants’ proposed materiality defense promises to come perilously close to improper victim

blaming, which the Court should forestall by issuing the Government’s requested order. It is

axiomatic that, if the defendants speak, it is their obligation to speak truthfully. It is never the

victims’ duty to question the defendants’ truthfulness or assume defendants are lying. Under Rule

10b-5, “once a party chooses to speak, it has a duty to be both accurate and complete.” In re Bank

of Am. AIG Disclosure Sec. Litig., 980 F. Supp. 2d 564, 575 (S.D.N.Y. 2013), aff'd, 566 F. App'x

93 (2d Cir. 2014) (Internal citations omitted). Under federal anti-fraud provisions, there is nothing

a victim need do to ascertain whether he or she has been told the truth; it is the speaker’s duty to

speak truthfully whenever he or she speaks. The Court should thus preclude any impermissible




                                                -2-
         Case 3:15-cr-00155-RNC Document 199 Filed 08/05/16 Page 3 of 4



suggestion that, had the victims conducted additional due diligence, they could have uncovered

the falsity of the defendants’ statements and thus avoided being victimized by the defendants.

                                         CONCLUSION

       The defendants’ proposed materiality defense poses a serious risk of presenting the jury

with an inaccurate impression of the law. Thus, although there does not seem to be a dispute at

this time that the defendants will not blame their victims for falling prey to the defendants’ lies,

the Government respectfully requests that the Court issue an order prohibiting the defendants from

presenting any evidence or making any arguments about what victims should have done to

ascertain the validity of the defendants’ statements or that the victims were in any way

contributorily negligent in allowing the defendants to defraud them.

                                                  Respectfully submitted,

                                                  DEIRDRE M. DALY
                                                  UNITED STATES ATTORNEY

                                                             /s/
                                                  LIAM BRENNAN
                                                  ASSISTANT UNITED STATES ATTORNEY
                                                  Federal Bar No. CT27924
                                                  liam.brennan@usdoj.gov
                                                  157 Church Street, 25th Floor
                                                  New Haven, CT 06510
                                                  Tel.: (203) 821-3700

                                                  HEATHER L. CHERRY
                                                  ASSISTANT UNITED STATES ATTORNEY
                                                  Federal Bar No. phv07037
                                                  heather.cherry@usdoj.gov

                                                  DAVID E. NOVICK
                                                  ASSISTANT UNITED STATES ATTORNEY
                                                  Federal Bar No. phv02874
                                                  david.novick@usdoj.gov




                                               -3-
         Case 3:15-cr-00155-RNC Document 199 Filed 08/05/16 Page 4 of 4



                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 5, 2016, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.



                                                            /s/
                                                     LIAM BRENNAN
                                                     ASSISTANT UNITED STATES ATTORNEY




                                                  -4-
